                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

 In re: JIT Industries, Inc.                     )          Case No.: 18-80892-CRJ-11
        EIN: xx-xxx7267                          )
                                                 )
                Debtor.                          )          CHAPTER 11


                 DEBTOR’S NOTICE OF AMENDMENT OF SCHEDULES

        COMES NOW the Debtor in the above styled matter and hereby files amended Schedule
 F, Summary of Assets and Liabilities, and Verification of Creditor Matrix consisting of 45 pages,
 by substituting the attached amended schedules for those originally filed, pursuant to Fed. R.
 Bankruptcy P. 1009. The specific changes are as follows:

         Schedule F has been amended
 -to add creditor A-Z Office Resource, Inc., 113 Jetplex Circle, Madison, AL 35758 for unknown
 account balance (disputed)
 -to add creditor AAR Manufacturing, Inc. dba AAR Mobility Systems, 1100 N. Wood Dale
 Road, Wood Dale, IL 60191 for unknown account balance (disputed)
 -to add creditor ACT Fastening Solutions, 245 Suffolk Lane, Gardner, MA 01440 for unknown
 account balance (disputed)
 -to add creditor Adept Fasteners, 28709 Industry Drive, Valencia, CA 91355 for unknown
 account balance (disputed)
 -to add creditor Aero Products, 551 N. 40th Street, Show Low, AZ 85901 for unknown account
 balance (disputed)
 -to add creditor Aero-Glen International, LLC, 1160 Mustang Drive, Suite 300, DFW
 International Airport, TX 75261 for unknown account balance (disputed)
 -to add creditor Aircraft Hardware West, 2180 Temple Avenue, Long Beach, CA 90804 for
 account balance of $2,171.00 (disputed)
 -to add creditor Aircraft Spruce, 225 Airport Circle, Corona, CA 92880 for unknown account
 balance (disputed)
 -to add creditor Airgas South, Inc., 621 Finley Island Road, Decatur, AL 35601 for account
 balance of $1,400.45 (disputed)
 -to add creditor Align Aerospace, 21123 Nordhoff Street, Chatsworth, CA 91311 for unknown
 account balance (disputed)
 -to add creditor All Data Resource, 2892 Prairie Drive, Lewis Center, OH 43035 for unknown
 account balance (disputed)
 -to add creditor Allied Electronics, 7151 Jack Newell Boulevard S., Forth Worth, TX 76118 for
 unknown account balance (disputed)
 -to add creditor Allied Wire & Cable, 101 Kestrel Drive, Collegeville, PA 19426 for account
 balance of $1,061.40 (disputed)
 -to add creditor Amazon, 410 Terry Avenue N., Seattle, WA 98109 for unknown account
 balance (disputed)




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 -to add creditor American Ring & Tool Company, 30450 Bruce Industrial Parkway, Solon, OH
 44139 for unknown account balance (disputed)
 -to add creditor Andrews Tool Company, Inc., 2026 W. Pioneer Parkway, #B10, Pantego, TX
 76013 for account balance of $3,646.75 (disputed)
 -to add creditor Apex Industrial Supply, LLC, 1401 Air Wing Road, San Diego, CA 92154 for
 account balance of $1,108.56 (disputed)
 -to add creditor Arlington International Aviation Products, 7321 Commercial Boulevard E.,
 Arlington, TX 76001 for account balance of $1,634.00 (disputed)
 -to add creditor Astral Air Parts, 192 Van Riper Avenue, Elmwood Park, NJ 07407 for unknown
 account balance (disputed)
 -to add creditor Athens Utilities, 1806 Wilkinson Street, Athens, AL 35611 for account balance
 of $609.67 (disputed)
 -to add creditor Atlanta Air Exchange, 1146 Uniform Road, Griffin, GA 30224 for unknown
 account balance (disputed)
 -to add creditor Automation Direct, P.O. Box 402417, Atlanta, GA 30384-2417 for account
 balance of $530.00 (disputed)
 -to add creditor Aviall, P.O. Box 619048, Dallas, TX 75261-9148 for unknown account balance
 (disputed)
 -to add creditor B&B Specialities, 4321 E. La Palma Avenue, Anaheim, CA 92807 for account
 balance of $600.00 (disputed)
 -to add creditor Bailey Hydraulics, 2527 Westcott Boulevard, Knoxville, TN 37931 for unknown
 account balance (disputed)
 -to add creditor Baldor, 5711 R.S. Boreham Jr Street, P.O. Box 2400, Fort Smith, AR 72901 for
 unknown account balance
 -to add creditor Bell Memphis, 1650 Channel Avenue, Memphis, TN 38103 for account balance
 of $1,212.50 (disputed)
 -to add creditor Benchmark Connector Corp., 4501 N.W. 103 Avenue, Sunrise, FL 33351-7981
 for unknown account balance (disputed)
 -to add creditor Blue Cross and Blue Shield of Alabama, P.O. Box 360387, Birmingham, AL
 35236-03874 for account balance of $9,862.29 (disputed)
 -to add creditor Blue Sky Industries, 595 Monterey Pass Road, Monterey Park, ,CA 91754-2416
 for unknown account balance (disputed)
 -to add creditor Brownells, Inc., 200 South Front Street, Montezuma, IA 50171 for unknown
 account balance (disputed)
 -to add creditor BW Elliott Manufacturing, 11 Beckwith Avenue, Binghamton, NY 13901 for
 account balance of $24,485.39 (disputed)
 -to add creditor C.H. Robinson Worldwide, Inc. and Subsidiaries, 14701 Charlson Road, Eden
 Prairie, MN 55347-5076 for unknown account balance (disputed)
 -to add creditor Cavanaugh Government Group, 8432 Beloit Avenue, Bridgeview, IL 60455 for
 account balance of $1,156.80 (disputed)
 -to add creditor CBT Corporation, 1200 S. Powell Road, #A, Independence, MO 64057 for
 unknown account balance (disputed)
 -to add creditor CDW, 75 Tri-State International, Lincolnshire, IL 60069 for account balance of
 $1,843.59 (disputed)
 -to add creditor Chemsol, 5320 E. 25th Street, Indianapolis, IN 46218 for unknown account
 balance (disputed)




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 -to add creditor Cook’s Pest Control, 2007 Southpark Boulevard SW, Huntsville, AL 35803 for
 unknown account balance (disputed)
 -to add creditor DB Roberts, 1060 N. Batavia Street, Unit E, Orange, CA 92867 for unknown
 account balance (disputed)
 -to add creditor Denco Aerospace, Inc., 2605 Central Avenue, Grand Prairie, TX 75050 for
 unknown account balance (disputed)
 -to add creditor Denray Machine, Inc., 10775 Lawrence, #1140, Mount Vernon, MO 65712 for
 account balance of $7,056.00 (disputed)
 -to add creditor Dialogic Fasteners, 3161 State Road, Bensalem, PA 19020 for account balance
 of $2,055.00 (disputed)
 -to add creditor Digikey Corporation, 701 Brooks Avenue South, P.O. Box 677, Thief River
 Falls, MN 56701-0677 for unknown account balance (disputed)
 -to add creditor Dixie Air Parts Supply, Inc., 2048 West Malone Avenue, San Antonio, TX
 78225 for unknown account balance (disputed)
 -to add creditor DMS Aircraft, 3838 Commerce Parkway, Miramar, FL 33025 for unknown
 account balance (disputed)
 -to add creditor DPSI, 1801 Stanley Road, Suite 301, Greensboro, NC 27407 for unknown
 account balance (disputed)
 -to add creditor ECAS, Inc., 2990 Technology Drive, Rochester Hills, MI 48309 for unknown
 account balance (disputed)
 -to add creditor Electro Enterprises, P.O. Box 11456, Oklahoma City, OK 73136 for account
 balance of $918.54 (disputed)
 -to add creditor Enfasco, 1675 Hylton Road, Pennsauken Township, NJ 08110 for account
 balance of $515.83 (disputed)
 -to add creditor Fastenal, 2001 Theurer Boulevard, Winona, MN 55987 for unknown account
 balance (disputed)
 -to add creditor Fastener Technology Corp., 7415 Fulton Avenue, North Hollywood, CA 91605
 for account balance of $5,945.00 (disputed)
 -to add creditor FedEx, FedEx Corp. Revenue Services, 3965 Airways, Module G, Memphis, TN
 38116 for account balance of $1,794.81 (disputed)
 -to add creditor FedEx Freight, FedEx Customer Relations, 3875 Airways, Module H3,
 Department 4634, Memphis, TN 38116 for account balance of $570.43 (disputed)
 -to add creditor Fisher Scientific, 300 Industry Drive, Pittsburgh, PA 15275 for unknown account
 balance (disputed)
 -to add creditor FJ Young, address unknown, for account balance of $671.88 (disputed)
 -to add creditor Flight Shop, Inc., P.O. Box 602, Brigham City, UT 84302 for unknown account
 balance (disputed)
 -to add creditor Graco Supply, 1001 Miller Avenue, Fort Worth, TX 76105 for unknown account
 balance (disputed)
 -to add creditor Grainger Industrial, 1912 Jordan Lane NW, Huntsville, AL 35816 for unknown
 account balance (disputed)
 -to add creditor Groves Industrial, 7301 Pinemont Drive, Houston, TX 77040 for unknown
 account balance (disputed)
 -to add creditor Grumen Manufacturing, Inc., 4081 Ryan Road, Suite 101, Gurnee, IL 60031 for
 unknown account balance (disputed)




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 -to add creditor HC Pacific, 5536 Ontario Mills Parkway, Ontario, CA 91764 for account
 balance of $5,922.24 (disputed)
 -to add creditor Hentzen Coatings, Inc., 6937 West Mill Road, Milwaukee, WI 53218-1225 for
 unknown account balance (disputed)
 -to add creditor Herber Aircraft, 1401 East Franklin Avenue, El Segundo, CA 90245-4307 for
 unknown account balance (disputed)
 -to add creditor Hercules Sealing Products, 1016 N. Belcher Road, Clearwater, FL 33765 for
 unknown account balance (disputed)
 -to add creditor Heritage Propane, 7206 Governors West Road NW, Huntsville, AL 35806 for
 unknown account balance (disputed)
 -to add creditor Hobson Manufacturing, 6758 Eton Avenue, Canoga Park, CA 91303 for account
 balance of $564.83 (disputed)
 -to add creditor Howco Distributing, 6025 E. 18th Street, Vancouver, WA 98661 for account
 balance of $1,957.33 (disputed)
 -to add creditor ICC, 900 Montclair Road, Birmingham, AL 35213 for unknown account balance
 (disputed)
 -to add creditor Industrial Forge, 1725 US-1, Alma, GA 31510 for account balance of $1,160.00
 (disputed)
 -to add creditor Inland Technology, Inc., 401 E/ 27th Street, Tacoma, WA 98421 for account
 balance of $9,761.83 (disputed)
 -to add creditor Integration, LLC, 2009 Westmeade Street SW, Decatur, AL 35601 for account
 balance of $2,360.00 (disputed)
 -to add creditor Jacob Bridges. Address unknown, for unknown account balance (disputed)
 -to add creditor Jacobsen, 1710 Marvin Griffin Road, Augusta, GA 30906 for unknown account
 balance (disputed)
 -to add creditor Jeff Bourland, 107 Bibb Drive, Madison, AL 35758 for account balance of
 $1,330.00 (disputed)
 -to add creditor Jewell Instruments, LLC, 850 Perimeter Road, Manchester, NH 03103 for
 account balance of $7,992.00 (disputed)
 -to add creditor Johnstone Supply, 11632 NE Ainsworth Circle, Portland, OR 97220 for
 unknown account balance (disputed)
 -to add creditor Kaman Industrial, 1 Vision Way, Bloomfield, CT 06002 for unknown account
 balance (disputed)
 -to add creditor Kampi Components Co., Inc., 88 Canal Road, Fairless Hills, PA 19030 for
 account balance of $9,762.50 (disputed)
 -to add creditor Kapco Global, 3120 Enterprise Street, Brea, CA 92821 for unknown account
 balance (disputed)
 -to add creditor KLX Aerospace Solutions, 117 East Rose Avenue, Foley, AL 36535 for account
 balance of $19,510.97 (disputed)
 -to add creditor Koncentra USA Corp., 13551 SW 135 Avenue, Warehouse 302, Miami, FL
 33186 for unknown account balance (disputed)
 -to add creditor L-Com Global Connectivity, 50 High Street, West Mill, 3rd Floor, Suite 30,
 North Andover, MA 01845 for unknown account balance (disputed)
 -to add creditor Lee Aerospace Products, 9323 E. 34th Street N., Witchita, KS 67226 for
 unknown account balance (disputed)




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 -to add creditor MM Reif Ltd., 850 Albany Street, P.O. Box 191490, Roxbury, MA 02119 for
 unknown account balance (disputed)
 -to add creditor Marco Manufacturing, 55 Page Park Drive, P.O. Box 3733, Poughkeepsie, NY
 12603 for unknown account balance (disputed)
 -to add creditor Matthews Industries, Inc., 23 2nd Street, Decatur, AL 35601 for account balance
 of $1,108.96 (disputed)
 -to add creditor McMaster Carr, P.O. Box 740100, Atlanta, GA 30374-0100 for account balance
 of $3,716.37 (disputed)
 -to add creditor MEG Technologies, 15381 Assembly Lane, Huntington Beach, CA 92649 for
 unknown account balance (disputed)
 -to add creditor Metropolitan Aircraft Parts, Inc., 172 Cabot Street, West Babylon, NY 11704 for
 unknown account balance (disputed)
 -to add creditor Mouser, 1000 North Main Street, Mansfield, TX 76063 for unknown account
 balance (disputed)
 -to add creditor MSC Industrial, 114 Celtic Drive, Madison, AL 35758 for account balance of
 $1,798.041 (disputed)
 -to add creditor Myriad Supply, 22 W. 19th Street, New York, NY 10011 for account balance of
 790.00 (disputed)
 -to add creditor N! Critical Technologies, Inc., 211 N. Parker Drive, Janesville, WI 53545 for
 account balance of $1,006.50 (disputed)
 -to add creditor Newark Electronics, 33190 Collection Center Drive, Chicago, IL 60693-0331 for
 account balance of $1,412.89 (disputed)
 -to add creditor Northern Tool & Equipment, 7252 Governors W., Huntsville, AL 35806 for
 account balance of $577.97 (disputed)
 -to add creditor Nova Electric Division, 100 School Street, Bergenfield, NJ 07621 for account
 balance of $8,000.00 (disputed)
 -to add creditor Office Environments, 200 West Side Square, #53, Huntsville, AL 35801 for
 account balance of $29,488.00 (disputed)
 -to add creditor Oil States Industries, 7701 S. Cooper Street, Arlington, TX 76001 for unknown
 account balance (disputed)
 -to add creditor Ortman Fluid Power, 1400 N. 30th Street, Suite 20, Quincy, IL 62301 for
 unknown account balance (disputed)
 -to add creditor Peerless Aerospace, 141 Executive Boulevard, Farmingdale, NY 11735 for
 account balance of $5,539.28 (disputed)
 -to add creditor Pioneer Industries, 111 Kero Road, Carlstadt, NJ 07072 for unknown account
 balance (disputed)
 -to add creditor Poly Paint Co., 337 Summit Drive, Corte Madera, CA 94925 for account balance
 of $648.00 (disputed)
 -to add creditor PRC Desoto, PPG Aerospace, 12780 San Fernando Road, Sylmar, CA 91342 for
 account balance of $889.25 (disputed)
 -to add creditor Premium Assignment Corporation, 3522 Thomasville Road, #400, Tallahassee,
 FL 32309 for account balance of $843.78 (disputed)
 -to add creditor Professional Security Systems, 2106 West Ferry Way, Suite C, Huntsville, AL
 35801 for unknown account balance (disputed)
 -to add creditor Pyramid Industrial, 3158 Highway 20 W., Building #7, Decatur, AL 35601 for
 unknown account balance (disputed)




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 -to add creditor Quality Socket Screw Corporation, 7290 Worth Avenue, Englewood, FL 34224
 for account balance of $2,314.00 (disputed)
 -to add creditor Rapid Rivet, 121 Toledo Street, Farmingdale, NY 11735 for account balance of
 $505.69 (disputed)
 -to add creditor REFA International, Inc., 400 W. Fork Drive, Arlington, TX 76012 for account
 balance of $573.00 (disputed)
 -to add creditor Robertson Fuel Systems, 800 W. Carver Road, Suite 101, Tempe, AZ 85284 for
 account balance of $105,184.00 (disputed)
 -to add creditor Rockeywoods, 106 W. 4th Street, Loveland, CO 80537-5523 for unknown
 account balance (disputed)
 -to add creditor RS Hughes, 1162 Sonora Court, Sunnyvale, CA 94086 for account balance of
 $507.98 (disputed)
 -to add creditor Sandstorm Products, P.O. Box 547, 224 South Main Street, Port Byron, IL
 61275 for unknown account balance (disputed)
 -to add creditor Sandy Valley Fasteners, 528 Broadway Street, Paintsville, KY 41240 for
 unknown account balance (disputed)
 -to add creditor Sierra Pacific, 63 Laxalt Drive, Carson City, NV 89706 for unknown account
 balance (disputed)
 -to add creditor Softbox Systems, 350 Frontage Road, Greenville, SC 29611 for account balance
 of $5,640.00 (disputed)
 -to add creditor Southeastern Freight Lines, 6630 Swancott Road, Madison, AL 35756 for
 unknown account balance (disputed)
 -to add creditor Specaero, 5740 Nicolle Street, Ventura, CA 93003 for account balance of
 $711.40 (disputed)
 -to add creditor Spectrum Manufacturing & Sales, Inc., 1951 Hampshire Road, Columbus, OH
 43221 for account balance of $1,830.00 (disputed)
 -to add creditor Star Stainless, 2825 Northwoods Parkway, Norcross, GA 30071 for account
 balance of $1,813.18 (disputed)
 -to add creditor Starwares, 2606 Aviation Parkway, Grand Prairie, TX 75052-8911 for unknown
 account balance (disputed)
 -to add creditor Superior Washer & Gasket Corp., 170 Adams Avenue, Hauppauge, NY 11788
 for unknown account balance (disputed)
 -to add creditor TAB Hardware, 2880 E. Hill Street, Long Beach, CA 90804 for account balance
 of $9,842.50 (disputed)
 -to add creditor Textron Systems (Marine and Land Systems), 1010 Gause Boulevard,
 Shreveport, LA 71101 for unknown account balance (disputed)
 -to add creditor The Builders Supply, 1400 Marshall Street, Shreveport, LA 71101 for unknown
 account balance (disputed)
 -to add creditor TMS Equipment, 101 Arielle Way, Whitefish, MT 59937 for unknown account
 balance (disputed)
 -to add creditor Tormach, 1071 Uniek Drive, Waunakee, WI 53597 for account balance of
 $1,473.17 (disputed)
 -to add creditor Turner Supply Company, 401 33rd Street N., Birmingham, AL 35222 for account
 balance of $1,040.81 (disputed)




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 -to add creditor U.S. Air Tool Company, 60 Fleetwood Court, Ronkonkoma, NY 11779-6907 for
 unknown account balance (disputed)
 -to add creditor Uline, 12575 Uline Drive, Pleasant Prairie, WI 53158 for unknown account
 balance (disputed)
 -to add creditor Umpco, Inc., 7100 Lampson Avenue, P.O. Box 5158, Garden Grove, CA 92841
 for unknown account balance (disputed)
 -to add creditor Unical Defense, Inc., 680 South Lemon Avenue, Suite A, City of Industry, CA
 91789 for unknown account balance (disputed)
 -to add creditor United Static Control Products, Inc., 4301 32nd Street W., Bradenton, FL 34205
 for account balance of $724.39 (disputed)
 -to add creditor UPS, 55 Glenlake Parkway NE, Atlanta, GA 30328 for account balance of
 $3,055.93 (disputed)
 -to add creditor Versitron, 83 Albe Drive, #C, Newark, DE 19702 for account balance of $724.00
 (disputed)
 -to add creditor Wells Fargo Financial Leasing, 800 Walnut Street, MAC F0005-055, Des
 Moines, IA 50309 for account balance of $14,169.54 (disputed)
 -to add creditor Wencor, LLC, c/o Daniels Newman & Armstrong, 2729 Eva Court, Bethleham,
 GA 30620-7639 for account balance of $2,677.63 (disputed)
 -to add creditor Wencor West, Inc., 416 Dividend Drive, Peachtree City, GA 30269 for account
 balance of $22,283.05 (disputed)
 -to add creditor Wesco Aircraft, 24911 Avenue Stanford, Valencia, CA 91355 for account
 balance of $22,283.05 (disputed)
 -to add creditor Windstream fka Deltacom, c/o McCarthy Burgess & Wolff, 26000 Cannon
 Road, Cleveland, OH 44146 for account balance of $8,433.00(disputed)
 -to add creditor Wiremasters, 1788 North Point Road, Columbia, TN 38401 for account balance
 of $1,820.27 (disputed)
 -to add creditor Yostvises, 388 West 24th Street, Holland, MI 49423 for unknown account
 balance (disputed)
 -to add creditor Zoro Tools, 909 Asbury Drive, Buffalo Grove, IL 60089 for account balance of
 $3,022.51 (disputed)

        Respectfully submitted, this 8th day of May, 2018.



                                            /s/ Tazewell T. Shepard IV
                                            Tazewell T. Shepard III
                                            Kevin M. Morris
                                            Tazewell T. Shepard IV
                                            Attorneys for Debtor-in-Possession

                                            SPARKMAN, SHEPARD & MORRIS, P.C.
                                            P. O. Box 19045
                                            Huntsville, AL 35804
                                            Tel: 256/512-9924
                                            Fax: 256/512-9837




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 I DECLARE UNDER PENALTY OF PERJURY THAT THE ATTACHED AMENDED
 SCHEDULE F IS TRUE AND CORRECT TO THE BEST OF MY KNOWLEDGE,
 INFORMATION AND BELIEF.

 Dated: __May 8, 2018                                /s/ Ginger McComb
                                                     Ginger McComb



                                  CERTIFICATE OF SERVICE

         This is to certify that I have this 8th day of May, 2018 served the foregoing upon all listed
 creditors found on the attached Clerk’s Certified Matrix and upon the following persons by
 electronic service through the Court’s CM/ECF system and/or by depositing said copies in the
 US Mail in properly addressed envelopes with adequate postage thereon:

        Richard Blythe, Esq.                           A-Z Office Resource, Inc.
        Office of the Bankruptcy Administrator         113 Jetplex Circle
        P.O. Box 3045                                  Madison, AL 35758
        Decatur, AL 35602

        AAR Manfacturing, Inc.                         ACT Fastening Solutions
        dba Mobility Systems                           245 Suffolk Lane
        1100 N. Wood Dale Road                         Gardner, MA 01440
        Wood Dale, IL 60191

        Adept Fasteners                                Aero Products
        28709 Industry Drive                           551 N. 40th Street
        Valencia, CA 91355                             Show Low, AZ 85901

        Aero-Glen International, LLC                   Aircraft Hardware West
        1160 Mustang Drive Ste. 300                    2180 Temple Avenue
        DFW International Airport, TX 75261            Long Beach, CA 90804

        Aircraft Spruce                                Airgas South, Inc.
        225 Airport Circle                             621 Finley Island Road
        Corona, CA 92880                               Decatur, AL 35601

        Align Aerospace                                All Data Resource
        21123 Nordhoff Street                          2892 Prairie Drive
        Chatsworth, CA 91311                           Lewis Center, OH 43035

        Allied Electronics                             Allied Wire & Cable
        7151 Jack Newell Boulevard S.                  101 Kestrel Drive
        Fort Worth, TX 76118                           Collegeville, PA 19426




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       Amazon                             American Ring & Tool Company
       410 Terry Avenue N.                30450 Bruce Industrial Parkway
       Seattle, WA 98109                  Solon, OH 44139

       Andrews Tool Company, Inc.         Apex Industrial Supply, LLC
       2026 W. Pioneer Parkway, #B10      1401 Air Wing Road
       Pantego, TX 76013                  San Diego, CA 92154

       Arlington International            Astral Air Parts
       Aviation Products                  192 Van Riper Avenue
       74321 Commercial Boulevard E.      Elmwood Park, NJ 07407
       Arlington, TX 76001

       Athens Utilities                   Atlanta Air Exchange
       1806 Wilkinson Street              1146 Uniform Road
       Athens, AL 35611                   Griffin, GA 30224

       Automation Direct                  Aviall
       P.O. Box 402417                    P.O. Box 619048
       Atlanta, GA 30384-2417             Dallas, TX 75261-9048

       B&B Specialties                    Bailey Hydraulics
       4321 E. La Palma Avenue            2527 Westcott Boulevard
       Anaheim, CA 92807                  Knoxville, TN 37931

       Baldor                             Bell Memphis
       5711 R.S. Boreham Jr Street        1650 Channel Avenue
       P.O. Box 2400                      Memphis, TN 38103
       Fort Smith, AR 72901

       Benchmark Connector Corp.          Blue Cross and Blue Shield of Alabama
       4501 N.W. 103 Avenue               P.O. Box 360387
       Sunrise, FL 33351-7981             Birmingham, AL 35236-0387

       Blue Sky Industries                Brownells, Inc.
       595 Monterey Pass Road             200 South Front Street
       Monterey Park, CA 91754-2416       Montezuma, IA 50171

       BW Elliott Manufacturing           C.H. Robinson Worldwide, Inc. and Subsidiaries
       11 Beckwith Avenue                 14701 Charlson Road
       Binghampton, NY 13901              Eden Prairie, MN 55347-5076

       Cavanaugh Government Group         CBT Corporation
       8432 Beloit Avenue                 1200 S. Powell Road, #A
       Bridgeview, IL 60455               Independence, MO 64057




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       CDW                               Chemsol
       75 Tri-State International        5320 E. 25th Street
       Lincolnshire, IL 60069            Indianapolis, IN 46218

       Cook’s Pest Control               DB Roberts
       2007 Southpark Boulevard SW       1060 N. Batavia Street, Unit E
       Huntsville, AL 35803              Orange, CA 92867

       Denco Aerospace, Inc.             Denray Machine, Inc.
       2605 Central Avenue               10775 Lawrence, #1140
       Grand Prairie, TX 75050           Mount Vernon, MO 65712

       Dialogic Fasteners                Digikey Corporation
       3161 State Road                   701 Brooks Avenue South
       Bensalem, PA 19020                P.O. Box 677
                                         Thief River Falls, MN 56701-0677

       Dixie Air Parts Supply, Inc.      DMS Aircraft
       2048 West Malone Avenue           3838 Commerce Parkway
       San Antonio, TX 78225             Miramar, FL 33025

       DPSI                              ECAS, Inc.
       1801 Stanley Road, Ste. 301       2990 Technology Drive
       Greensboro, NC 27407              Rochester Hills, MI 48309

       Electro Enterprises               Enfasco
       P.O. Box 11456                    1675 Hylton Road
       Oklahoma City, OK 73136           Pennsauken Township, NJ 08110

       Fastenal                          Fastener Technology Corp.
       2001 Theurer Boulevard            7415 Fulton Avenue
       Winona, MN 55987                  North Hollywood, CA 91605

       FedEx                             FedEx Freight
       FedEx Corp. Revenue Services      FedEx Customer Relations
       3965 Airways, Module G            3875 Airways, Module H3, Dept. 4634
       Memphis, TN 38116                 Memphis, TN 38116

       Fisher Scientific                 Flight Shop, Inc.
       300 Industry Drive                P.O. Box 602
       Pittsburgh, PA 15275              Brigham City, UT 84302

       Graco Supply                      Grainger Industrial
       1001 Miller Avenue                1912 Jordan Lane NW
       Fort Worth, TX 76105              Huntsville, AL 35816




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       Groves Industrial                 Grumen Manufacturing, Inc.
       7301 Pinemont Drive               4081 Ryan Road, Ste. 101
       Houston, TX 77040                 Gurnee, IL 60031

       HC Pacific                        Hentzen Coatings, Inc.
       5536 Ontario Mills Parkway        6937 West Mill Road
       Ontario, CA 91764                 Milwaukee, WI 53218-1225

       Herber Aircraft                   Hercules Sealing Products
       1401 East Franklin Avenue         1016 N. Belcher Road
       El Segundo, CA 90245-4307         Clearwater, FL 33765

       Heritage Propane                  Hobson Manufacturing
       7206 Governors West Road NW       6758 Eton Avenue
       Huntsville, AL 35806              Canoga Park, CA 91303

       Howco Distributing                ICC
       6025 E. 18th Street               900 Montclair Road
       Vancouver, WA 98661               Birmingham, AL 35213

       Industrial Forge                  Inland Technology, Inc.
       1725 IUS-1                        401 E. 27th Street
       Alma, GA 31510                    Tacoma, WA 98421

       Integration, LLC                  Jacob Bridges
       2009 Westmeade Street SW          Address Unknown
       Decatur, AL 35601

       Jacobsen                          Jeff Bourland
       1710 Marvin Griffin Road          107 Bibb Drive
       August, GA 30906                  Madison, AL 35758

       Jewell Instruments, LLC           Johnstone Supply
       850 Perimeter Road                11632 NE Ainsworth Circle
       Manchester, NH 03103              Portland, OR 97220

       Kaman Industrial                  Kampi Components Co., Inc.
       1 Vision Way                      88 Canal Road
       Bloomfield, CT 06002              Fairless Hills, PA 19030

       Kapco Global                      KLX Aerospace Solutions
       3120 Enterprise Street            117 East Rose Avenue
       Brea, CA 92821                    Foley, AL 36535




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       Koncentra USA Corp.                 L-Com Global Connectivity
       13551 SW 135 Avenue                 50 High Street
       Warehouse 302                       West Mill, 3rd Floor, Ste. 30
       Miami, FL 33186                     North Andover, MA 01845

       Lee Aerospace Products              MM Reif Ltd.
       9323 E. 34th Street N.              850 Albany Street
       Witchita, KS 67226                  P.O. Box 191490
                                           Roxbury, MA 02119

       Marco Manufacturing                 Matthews Industries, Inc.
       55 Page Park Drive                  23 2nd Street
       P.O. Box 3733                       Decatur, AL 35601
       Poughkeepsie, NY 12603

       McMaster Carr                       MEG Technologies
       P.O. Box 740100                     15381 Assembly Lane
       Atlanta, GA 30374-0100              Huntington Beach, CA 92649

       Metropolitan Aircraft Parts, Inc.   Mouser
       172 Cabot Street                    1000 North Main Street
       West Babylon, NY 11704              Mansfield, TX 76063

       MSC Industrial                      Myriad Supply
       114 Celtic Drive                    22 W. 19th Street
       Madison, AL 35758                   New York, NY 10011

       N! Critical Technologies, Inc.      Newark Electronics
       211 N. Parker Drive                 33190 Collection Center Drive
       Janesville, WI 53545                Chicago, IL 60693-0331

       Northern Tool & Equipment           Nova Electric Division
       7252 Governors W.                   100 School Street
       Huntsville, AL 35806                Bergenfield, NJ 07621

       Office Environments                 Oil States Industries
       200 West Side Square, #53           7701 S. Cooper Street
       Huntsville, AL 35801                Arlington, TX 76001

       Ortman Fluid Power                  Peerless Aerospace
       1400 N. 30th Street, Ste. 20        141 Executive Boulevard
       Quincy, IL 62301                    Farmingdale, NY 11735




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       Pioneer Industries                 Poly Paint Co.
       111 Kero Road                      337 Summit Drive
       Carlstadt, NJ 07072                Corte Madera, CA 94925

       PRC Desoto                         Premium Assignment Corporation
       PPG Aerospace                      3522 Thomasville Road, #400
       12780 San Fernando Road            Tallahassee, FL 32309
       Sylmar, CA 91342

       Professional Security Systems      Pyramid Industrial
       2106 West Ferry Way, Ste. C        3158 Highway 20 W., Bldg. #7
       Huntsville, AL 35801               Decatur, AL 35601

       Quality Socket Screw Corporation   Rapid Rivet
       7290 Worth Avenue                  121 Toledo Street
       Englewood, FL 34224                Farmingdale, NY 11735

       REFA International, Inc.           FJ Young
       400 W. Fork Drive                  Address Unknown
       Arlington, TX 76012

       Robertson Fuel Systems             Rockywoods
       800 W. Carver Road, Ste. 101       106 W.4th Street
       Tempe, AZ 85284                    Loveland, CO 80537-5523

       RS Hughes                          Sandstrom Products
       1162 Sonora Court                  P.O. Box 547
       Sunnyvale, CA 94086                224 South Main Street
                                          Port Bryon, IL 61275

       Sandy Valley Fasteners             Sierra Pacific
       528 Broadway Street                63 Laxalt Drive
       Paintsville, KY 41240              Carson City, NV 89706

       Softbox Systems                    Southeastern Freight Lines
       350 Frontage Road                  6630 Swancott Road
       Greenville, SC 29611               Madison, AL 35756

       Specaero                           Spectrum Manufacturing & Sales, Inc.
       5740 Nicolle Street                1951 Hampshire Road
       Ventura, CA 93003                  Columbus, OH 43221

       Star Stainless                     Starwares
       2825 Northwoods Parkway            2606 Aviation Parkway
       Norcross, GA 30071                 Grand Prairie, TX 75052-8911




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       Superior Washer & Gasket Corp.   TAB Hardware
       170 Adams Avenue                 2880 E. Hill Street
       Hauppauge, NY 11788              Long Beach, CA 90804

       Textron Systems                  The Builders Supply
       (Marine and Land Systems)        1400 Marshall Street
       1010 Gause Boulevard             Shreveport, LA 71101
       Slidell, LA 70458

       TMS Equipment                    Tormach
       101 Arielle Way                  1071 Uniek Drive
       Whitefish, MT 59937              Waunakee, WI 53597

       Turner Supply Company            U.S. Air Tool Company
       401 33rd Street N.               60 Fleetwood Court
       Birmingham, AL 35222             Ronkonkoma, NY 1179-6907

       Uline                            Umpco, Inc.
       12575 Uline Drive                7100 Lampson Avenue
       Pleasant Prairie, WI 53158       P.O. Box 5158
                                        Garden Grove, CA 92841

       Unical Defense, Inc.             United Static Control Products, Inc.
       680 South Lemon Avenue, Ste. A   4301 32nd Street W.
       City of Industry, CA 91789       Bradenton, FL 34205

       UPS                              Versitron
       55 Glenlake Parkway NE           83 Albe Drive, #C
       Atlanta, GA 30328                Newark, DE 19702

       Wells Fargo Financial Leasing    Wencor, LLC
       800 Walnut Street                c/o Daniels Newman & Armstrong
       MAC F0005-055                    2729 Eva Court
       Des Moines, IA 50309             Bethleham, GA 30620-7639

       Wencor West, Inc.                Wesco Aircraft
       416 Dividend Drive               24911 Avenue Stanford
       Peachtree City, GA 30269         Valencia, CA 91355

       Windstream fka Deltacom          Wiremasters
       c/o McCarthy Burgess & Wolff     1788 North Point Road
       26000 Cannon Road                Columbia, TN 38401
       Cleveland, OH 44146




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       Yostvises                        Zoro Tools
       388 West 24th Street             909 Asbury Drive
       Holland, MI 49423                Buffalo Grove, IL 60089




                                        /s/Tazewell T. Shepard IV
                                        Tazewell Shepard IV




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 Fill in this information to identify the case:

 Debtor name            JIT Industries, Inc.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF ALABAMA

 Case number (if known)               18-80892
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                     0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           319,153.74

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           319,153.74


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $         1,050,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                     0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           863,882.14


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,913,882.14




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name         JIT Industries, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)            18-80892
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

              No. Go to Part 2.

              Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           A-Z Office Resource, Inc.                                             Contingent
           113 Jetplex Circle                                                    Unliquidated
           Madison, AL 35758                                                     Disputed
           Date(s) debt was incurred                                         Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?       No      Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           AAR Manufacturing, Inc.
           dba AAR Mobility Systems                                              Contingent
           1100 N. Wood Dale Road                                                Unliquidated
           Wood Dale, IL 60191                                                   Disputed

           Date(s) debt was incurred                                         Basis for the claim:

           Last 4 digits of account number                                   Is the claim subject to offset?       No      Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           ACT Fastening Solutions                                               Contingent
           245 Suffolk Lane                                                      Unliquidated
           Gardner, MA 01440                                                     Disputed
           Date(s) debt was incurred                                         Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?       No      Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Adept Fasteners                                                       Contingent
           28709 Industry Drive                                                  Unliquidated
           Valencia, CA 91355                                                    Disputed
           Date(s) debt was incurred                                         Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?       No      Yes

 3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Aero Products                                                         Contingent
           551 N. 40th Street                                                    Unliquidated
           Show Low, AZ 85901                                                    Disputed
           Date(s) debt was incurred                                         Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?       No      Yes

Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 20
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 Debtor       JIT Industries, Inc.                                                                    Case number (if known)            18-80892
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 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Aero-Glen International, LLC
          1160 Mustang Drive                                                     Contingent
          Suite 300                                                              Unliquidated
          DFW International Airport, TX 75261                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $2,171.00
          Aircraft Hardware West                                                 Contingent
          2180 Temple Avenue                                                     Unliquidated
          Long Beach, CA 90804                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Aircraft Spruce                                                        Contingent
          225 Airport Circle                                                     Unliquidated
          Corona, CA 92880                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,400.45
          Airgas South, Inc.                                                     Contingent
          621 Finley Island Road                                                 Unliquidated
          Decatur, AL 35601                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Alabama Department of Revenue
          Income Tax Division                                                    Contingent
          P O Box 327460                                                         Unliquidated
          Montgomery, AL 36132                                                   Disputed

          Date(s) debt was incurred                                          Basis for the claim:    2016 Taxes for JIT Military Sales
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Align Aerospace                                                        Contingent
          21123 Nordhoff Street                                                  Unliquidated
          Chatsworth, CA 91311                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          All Data Resource                                                      Contingent
          2892 Prairie Drive                                                     Unliquidated
          Lewis Center, OH 43035                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Allied Electronics                                                     Contingent
          7151 Jack Newell Boulevard S.                                          Unliquidated
          Fort Worth, TX 76118                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 2 of 20
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 Debtor       JIT Industries, Inc.                                                                    Case number (if known)            18-80892
              Name

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,061.40
          Allied Wire & Cable                                                    Contingent
          101 Kestrel Drive                                                      Unliquidated
          Collegeville, PA 19426                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Amazon                                                                 Contingent
          410 Terry Avenue N.                                                    Unliquidated
          Seattle, WA 98109                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $365,477.70
          American Express
          c/o Charles Nick Parnell III                                           Contingent
          641 South Lawrence Street                                              Unliquidated
          Montgomery, AL 36102                                                   Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          American Ring & Tool Company                                           Contingent
          30450 Bruce Industrial Parkway                                         Unliquidated
          Solon, OH 44139                                                        Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $3,646.75
          Andrews Tool Company, Inc.
          2026 W. Pioneer Parkway                                                Contingent
          #B10                                                                   Unliquidated
          Pantego, TX 76013                                                      Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,108.56
          Apex Industrial Supply, LLC                                            Contingent
          1401 Air Wing Road                                                     Unliquidated
          San Diego, CA 92154                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,634.00
          Arlington International Aviation Product                               Contingent
          7321 Commercial Boulevard E.                                           Unliquidated
          Arlington, TX 76001                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Astral Air Parts                                                       Contingent
          192 Van Riper Avenue                                                   Unliquidated
          Elmwood Park, NJ 07407                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 3 of 20
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 Debtor       JIT Industries, Inc.                                                                    Case number (if known)            18-80892
              Name

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $609.67
          Athens Utilities                                                       Contingent
          1806 Wilkinson Street                                                  Unliquidated
          Athens, AL 35611                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Atlanta Air Exchange                                                   Contingent
          1146 Uniform Road                                                      Unliquidated
          Griffin, GA 30224                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $530.00
          Automation Direct                                                      Contingent
          P.O. Box 402417                                                        Unliquidated
          Atlanta, GA 30384-2417                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Aviall                                                                 Contingent
          P.O. Box 619048                                                        Unliquidated
          Dallas, TX 75261-9048                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $600.00
          B&B Specialties                                                        Contingent
          4321 E. La Palma Avenue                                                Unliquidated
          Anaheim, CA 92807                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Bailey Hydraulics                                                      Contingent
          2527 Westcott Boulevard                                                Unliquidated
          Knoxville, TN 37931                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Baldor
          5711 R.S. Boreham Jr Street                                            Contingent
          P.O. Box 2400                                                          Unliquidated
          Fort Smith, AR 72901                                                   Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,212.50
          Bell Memphis                                                           Contingent
          1650 Channel Avenue                                                    Unliquidated
          Memphis, TN 38103                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 4 of 20
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 Debtor       JIT Industries, Inc.                                                                    Case number (if known)            18-80892
              Name

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Benchmark Connector Corp.                                              Contingent
          4501 N.W. 103 Avenue                                                   Unliquidated
          Sunrise, FL 33351-7981                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $9,862.29
          Blue Cross and Blue Shield of Alabama                                  Contingent
          P.O Box 360387                                                         Unliquidated
          Birmingham, AL 35236-0387                                              Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Blue Sky Industries                                                    Contingent
          595 Monterey Pass Road                                                 Unliquidated
          Monterey Park, CA 91754-2406                                           Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Brownells, Inc.                                                        Contingent
          200 South Front Street                                                 Unliquidated
          Montezuma, IA 50171                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $24,485.39
          BW Elliott Manufacturing                                               Contingent
          11 Beckwith Avenue                                                     Unliquidated
          Binghamton, NY 13901                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          C.H. Robinson Wolrdwide and Subsidiaries                               Contingent
          14701 Charlson Road                                                    Unliquidated
          Eden Prairie, MN 55347-5076                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $76,051.81
          Capital One Visa
          c/o Portfolio Recovery Associates, LLC                                 Contingent
          PO Box 12914                                                           Unliquidated
          Norfolk, VA 23541                                                      Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,156.80
          Cavanaugh Government Group                                             Contingent
          8432 Beloit Avenue                                                     Unliquidated
          Bridgeview, IL 60455                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 5 of 20
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 Debtor       JIT Industries, Inc.                                                                    Case number (if known)            18-80892
              Name

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          CBT Corporation
          1200 S. Powell Road                                                    Contingent
          #A                                                                     Unliquidated
          Independence, MO 64057                                                 Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,843.59
          CDW                                                                    Contingent
          75 Tri-State International                                             Unliquidated
          Lincolnshire, IL 60069                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Chemsol                                                                Contingent
          5320 E. 25th Street                                                    Unliquidated
          Indianapolis, IN 46218                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Cook's Pest Control                                                    Contingent
          2007 Southpark Boulevard SW                                            Unliquidated
          Huntsville, AL 35803                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          DB Roberts
          1060 N. Batavia Street                                                 Contingent
          Unit E                                                                 Unliquidated
          Orange, CA 92867                                                       Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Denco Aerospace, Inc.                                                  Contingent
          2605 Central Avenue                                                    Unliquidated
          Grand Prairie, TX 75050                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $7,056.00
          Denray Machine, Inc.
          10775 Lawrence                                                         Contingent
          #1140                                                                  Unliquidated
          Mount Vernon, MO 65712                                                 Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $2,055.00
          Dialogic Fasteners                                                     Contingent
          3161 State Road                                                        Unliquidated
          Bensalem, PA 19020                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes



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 Debtor       JIT Industries, Inc.                                                                    Case number (if known)            18-80892
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 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Digikey Corporation
          701 Brooks Avenue                                                      Contingent
          P.O. Box 677                                                           Unliquidated
          Thief River Falls, MN 56701-0677                                       Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Dixie Air Parts Supply, Inc.                                           Contingent
          2048 West Malone Avenue                                                Unliquidated
          San Antonio, TX 78225                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          DMS Aircraft                                                           Contingent
          3838 Commerce Parkway                                                  Unliquidated
          Miramar, FL 33025                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          DPSI
          1801 Stanley Road                                                      Contingent
          Suite 301                                                              Unliquidated
          Greensboro, NC 27407                                                   Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          ECAS, Inc.                                                             Contingent
          2990 Technology Drive                                                  Unliquidated
          Rochester, MI 48309                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $918.54
          Electro Enterprises                                                    Contingent
          P.O. Box 11456                                                         Unliquidated
          Oklahoma City, OK 73136                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $515.83
          Enfasco                                                                Contingent
          1675 Hylton Road                                                       Unliquidated
          Pennsauken, NJ 08110                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Fastenal                                                               Contingent
          2001 Theurer Boulevard                                                 Unliquidated
          Winona, MN 55987                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes




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 Debtor       JIT Industries, Inc.                                                                    Case number (if known)            18-80892
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 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $5,945.00
          Fastener Technology Corp.                                              Contingent
          7415 Fulton Avenue                                                     Unliquidated
          North Hollywood, CA 91605                                              Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,794.81
          FedEx
          FedEx Corp. Revenue Services                                           Contingent
          3965 Airways, Module G                                                 Unliquidated
          Memphis, TN 38116                                                      Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $570.43
          FedEx Freight
          FedEx Customer Relations                                               Contingent
          3875 Airways, Module H3, Dept. 4634                                    Unliquidated
          Memphis, TN 38116                                                      Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Fisher Scientific                                                      Contingent
          300 Industry Drive                                                     Unliquidated
          Pittsburgh, PA 15275                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $671.88
          FJ Young                                                               Contingent
          Unknown                                                                Unliquidated
          Date(s) debt was incurred                                              Disputed

          Last 4 digits of account number                                    Basis for the claim:
                                                                             Is the claim subject to offset?      No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Flight Shop, Inc.                                                      Contingent
          P.O. Box 602                                                           Unliquidated
          Brigham City, UT 84302                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Graco Supply                                                           Contingent
          1001 Miller Avenue                                                     Unliquidated
          Fort Worth, TX 76105                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Grainger Industrial                                                    Contingent
          1912 Jordan Lane NW                                                    Unliquidated
          Huntsville, AL 35816                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes




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 Debtor       JIT Industries, Inc.                                                                    Case number (if known)            18-80892
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 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Groves Industrial                                                      Contingent
          7301 Pinemont Drive                                                    Unliquidated
          Houston, TX 77040                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Grumen Manufacturing, Inc.
          4081 Ryan Road                                                         Contingent
          Suite 101                                                              Unliquidated
          Gurnee, IL 60031                                                       Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $47,015.58
          Harrison Gammons & Rawlinson                                           Contingent
          2430 L and N Drive SW                                                  Unliquidated
          Huntsville, AL 35801                                                   Disputed
          Date(s) debt was incurred 07/10/17                                 Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $5,922.24
          HC Pacific                                                             Contingent
          5536 Ontario Mills Parkway                                             Unliquidated
          Ontario, CA 91764                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Hentzen Coatings, Inc.                                                 Contingent
          6937 West Mill Road                                                    Unliquidated
          Milwaukee, WI 53218-1225                                               Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Herber Aircraft                                                        Contingent
          1401 East Franklin Avenue                                              Unliquidated
          El Segundo, CA 90245-4307                                              Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Hercules Sealing Products                                              Contingent
          1016 N. Belcher Road                                                   Unliquidated
          Clearwater, FL 33765                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Heritage Propane                                                       Contingent
          7206 Governors West Road NW                                            Unliquidated
          Huntsville, AL 35806                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes




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 Debtor       JIT Industries, Inc.                                                                    Case number (if known)            18-80892
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 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $564.83
          Hobson Manufacturing                                                   Contingent
          6758 Eton Avenue                                                       Unliquidated
          Canoga Park, CA 91303                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,957.33
          Howco Distributing                                                     Contingent
          6025 E. 18th Street                                                    Unliquidated
          Vancouver, WA 98661                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          ICC                                                                    Contingent
          900 Montclair Road                                                     Unliquidated
          Birmingham, AL 35213                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,160.00
          Industrial Forge                                                       Contingent
          1725 US-1                                                              Unliquidated
          Alma, GA 31510                                                         Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $9,761.83
          Inland Technology, Inc.                                                Contingent
          401 E. 27th Street                                                     Unliquidated
          Tacoma, WA 98421                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $2,360.00
          Integration, LLC                                                       Contingent
          2009 Westmeade Street SW                                               Unliquidated
          Decatur, AL 35601                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Internal Revenue Service                                               Contingent
          PO Box 7346                                                            Unliquidated
          Philadelphia, PA 19101-7346                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim:    2016 Taxes for JIT Military Sales
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Jacob Bridges                                                          Contingent
          Unknown                                                                Unliquidated
          Date(s) debt was incurred                                              Disputed

          Last 4 digits of account number                                    Basis for the claim:
                                                                             Is the claim subject to offset?      No       Yes




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 Debtor       JIT Industries, Inc.                                                                    Case number (if known)            18-80892
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 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Jacobsen                                                               Contingent
          1710 Marvin Griffin Road                                               Unliquidated
          Augusta, GA 30906                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,330.00
          Jeff Bourland                                                          Contingent
          107 Bibb Drive                                                         Unliquidated
          Madison, AL 35758                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $7,992.00
          Jewell Instruments, LLC                                                Contingent
          850 Perimeter Road                                                     Unliquidated
          Manchester, NH 03103                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Johnstone Supply                                                       Contingent
          11632 NE Ainsworth Circle                                              Unliquidated
          Portland, OR 97220                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Kaman Industrial                                                       Contingent
          1 Vision Way                                                           Unliquidated
          Bloomfield, CT 06002                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $9,762.50
          Kampi Components Co., Inc.                                             Contingent
          88 Canal Road                                                          Unliquidated
          Fairless Hills, PA 19030                                               Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Kapco Global                                                           Contingent
          3120 Enterprise Street                                                 Unliquidated
          Brea, CA 92821                                                         Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $19,510.97
          KLX Aerospace Solutions                                                Contingent
          117 East Rose Avenue                                                   Unliquidated
          Foley, AL 36535                                                        Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes




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 Debtor       JIT Industries, Inc.                                                                    Case number (if known)            18-80892
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 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Koncentra USA Corp.
          13551 SW 135 Avenue                                                    Contingent
          Warehouse 302                                                          Unliquidated
          Miami, FL 33186                                                        Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          L-Com Global Company
          50 High Street                                                         Contingent
          West Mill, 3rd Floor, Ste. 30                                          Unliquidated
          North Andover, MA 01845                                                Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Lee Aerospace Products                                                 Contingent
          9323 E. 34th Street N.                                                 Unliquidated
          Wichita, KS 67226                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Marco Manufacturing
          55 Page Park Drive                                                     Contingent
          P.O. Box 3733                                                          Unliquidated
          Poughkeepsie, NY 12603                                                 Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,108.96
          Matthews Industries, Inc.                                              Contingent
          23 2nd Street                                                          Unliquidated
          Decatur, AL 35601                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $3,716.37
          McMaster Carr                                                          Contingent
          P.O. Box 740100                                                        Unliquidated
          Atlanta, GA 30374-0100                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          MEG Technologies                                                       Contingent
          15381 Assembly Lane                                                    Unliquidated
          Huntington Beach, CA 92649                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Metropolitan Aircraft Parts, Inc.                                      Contingent
          172 Cabot Street                                                       Unliquidated
          West Babylon, NY 11704                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes



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 Debtor       JIT Industries, Inc.                                                                    Case number (if known)            18-80892
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 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          MM Reif Ltd.
          850 Albany Street                                                      Contingent
          P.O. Box 191490                                                        Unliquidated
          Roxbury, MA 02119                                                      Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Mouser                                                                 Contingent
          1000 North Main Street                                                 Unliquidated
          Mansfield, TX 76063                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,798.41
          MSC Industrial                                                         Contingent
          114 Celtic Drive                                                       Unliquidated
          Madison, AL 35758                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $790.00
          Myriad Supply                                                          Contingent
          22 W. 19th Street                                                      Unliquidated
          New York, NY 10011                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,006.50
          N! Critical Technologies, Inc.                                         Contingent
          211 N. Parker Driver                                                   Unliquidated
          Janesville, WI 53545                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,412.89
          Newark Electronics                                                     Contingent
          33190 Collection Center Drive                                          Unliquidated
          Chicago, IL 60693-0331                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $577.97
          Northern Tool & Equipment                                              Contingent
          7252 Governors W.                                                      Unliquidated
          Huntsville, AL 35806                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $8,000.00
          Nova Electric Division                                                 Contingent
          100 School Street                                                      Unliquidated
          Bergenfield, NJ 07621                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes




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 Debtor       JIT Industries, Inc.                                                                    Case number (if known)            18-80892
              Name

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $29,488.00
          Office Enviornments
          200 West Side Square                                                   Contingent
          #53                                                                    Unliquidated
          Huntsville, AL 35801                                                   Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Oil States Industries                                                  Contingent
          7701 S. Cooper Street                                                  Unliquidated
          Arlington, TX 76001                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Ortman Fluid Power
          1400 N. 30th Street                                                    Contingent
          Suite 20                                                               Unliquidated
          Quincy, IL 62301                                                       Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $5,539.28
          Peerless Aerospace                                                     Contingent
          141 Executive Boulevard                                                Unliquidated
          Farmingdale, NY 11735                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Pioneer Industries                                                     Contingent
          111 Kero Road                                                          Unliquidated
          Carlstadt, NJ 07072                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $648.00
          Poly Paint Co.                                                         Contingent
          337 Summit Drive                                                       Unliquidated
          Corte Madera, CA 94925                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $889.25
          PRC Desoto
          PPG Aerospace                                                          Contingent
          12780 San Fernando Road                                                Unliquidated
          Sylmar, CA 91342                                                       Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes




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 Debtor       JIT Industries, Inc.                                                                    Case number (if known)            18-80892
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 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $843.78
          Premium Assignment Corporation
          3522 Thomasville Road                                                  Contingent
          #400                                                                   Unliquidated
          Tallahassee, FL 32309                                                  Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Professional Security Systems
          2106 West Ferry Way                                                    Contingent
          Suite C                                                                Unliquidated
          Huntsville, AL 35801                                                   Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Pyramid Industrial
          3158 Highway 20 W.                                                     Contingent
          Building #7                                                            Unliquidated
          Decatur, AL 35601                                                      Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $2,314.00
          Quality Socket Screw Corporation                                       Contingent
          7290 Worth Avenue                                                      Unliquidated
          Englewood, FL 34224                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $505.69
          Rapid Rivet                                                            Contingent
          121 Toledo Street                                                      Unliquidated
          Farmingdale, NY 11735                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $573.00
          REFA International, Inc.                                               Contingent
          400 W. Fork Drive                                                      Unliquidated
          Arlington, TX 76012                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $105,184.00
          Robertson Fuel Systems
          800 W. Carver Road                                                     Contingent
          Suite 101                                                              Unliquidated
          Tempe, AZ 85284                                                        Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes




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 Debtor       JIT Industries, Inc.                                                                    Case number (if known)            18-80892
              Name

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Rockywoods                                                             Contingent
          106 W. 4th Street                                                      Unliquidated
          Loveland, CO 80537                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $507.98
          RS Hughes                                                              Contingent
          1162 Sonora Court                                                      Unliquidated
          Sunnyvale, CA 94086                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Sandstrom Products
          P.O. Box 547                                                           Contingent
          224 South Main Street                                                  Unliquidated
          Port Byron, IL 61275                                                   Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Sandy Valley Fasteners                                                 Contingent
          528 Broadway Street                                                    Unliquidated
          Paintsville, KY 41240                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Sierra Pacific                                                         Contingent
          63 Laxalt Drive                                                        Unliquidated
          Carson City, NV 89706                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $5,640.00
          Softbox Systems                                                        Contingent
          350 Frontage Road                                                      Unliquidated
          Greenville, SC 29611                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Southeastern Freight Lines                                             Contingent
          6630 Swancott Road                                                     Unliquidated
          Madison, AL 35756                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $711.40
          Spacaero                                                               Contingent
          5740 Nicolle Street                                                    Unliquidated
          Ventura, CA 93003                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes




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 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,830.00
          Spectrum Manufacturing & Sales, Inc.                                   Contingent
          1951 Hampshire Road                                                    Unliquidated
          Columbus, OH 43221                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,813.18
          Star Stainless                                                         Contingent
          2825 Northwoods Parkway                                                Unliquidated
          Norcross, GA 30071                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Starwares                                                              Contingent
          2606 Aviation Parkway                                                  Unliquidated
          Grand Prairie, TX 75052-8911                                           Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Superior Washer & Gasket Corp.                                         Contingent
          170 Adams Avenue                                                       Unliquidated
          Hauppauge, NY 11788                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $9,842.50
          TAB Hardware                                                           Contingent
          2880 E. Hill Street                                                    Unliquidated
          Long Beach, CA 90804                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Textron Systems (Marine & Land Systems)                                Contingent
          1010 Gause Boulevard                                                   Unliquidated
          Slidell, LA 70458                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          The Builders Supply                                                    Contingent
          1400 Marshall Street                                                   Unliquidated
          Shreveport, LA 71101                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          TMS Equipment                                                          Contingent
          101 Arielle Way                                                        Unliquidated
          Whitefish, MT 59937                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes




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 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,473.17
          Tormach                                                                Contingent
          1071 Uniek Drive                                                       Unliquidated
          Waunakee, WI 53597                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,040.81
          Turner Supply Company                                                  Contingent
          401 33rd Street N.                                                     Unliquidated
          Birmingham, AL 35222                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          U.S. Air Tool Company                                                  Contingent
          60 Fleetwood Court                                                     Unliquidated
          Ronkonkoma, NY 11779                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Uline                                                                  Contingent
          12575 Uline Drive                                                      Unliquidated
          Pleasant Prairie, WI 53158                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Umpco, Inc.
          7100 Lampson Avenue                                                    Contingent
          P.O. Box 5158                                                          Unliquidated
          Garden Grove, CA 92841                                                 Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Unical Defense, Inc.
          680 South Lemon Avenue                                                 Contingent
          Suite A                                                                Unliquidated
          City of Industry, CA 91789                                             Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $724.39
          United Static Control Products, Inc.                                   Contingent
          4301 32nd Street W.                                                    Unliquidated
          Bradenton, FL 34205                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $3,055.93
          UPS                                                                    Contingent
          55 Glenlake Parkway NE                                                 Unliquidated
          Atlanta, GA 30328                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes




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 Debtor       JIT Industries, Inc.                                                                    Case number (if known)            18-80892
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 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $724.00
          Versitron
          83 Albe Drive                                                          Contingent
          #C                                                                     Unliquidated
          Newark, DE 19702                                                       Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $14,169.54
          Wells Fargo Financial Leasing
          800 Walnut Street                                                      Contingent
          MAC F0005-055                                                          Unliquidated
          Des Moines, IA 50309                                                   Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number       2539                         Is the claim subject to offset?      No       Yes

 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           Unknown
          Wencor West, Inc.                                                      Contingent
          416 Dividend Drive                                                     Unliquidated
          Peachtree City, GA 30269                                               Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $2,677.63
          Wencor, LLC
          c/o Daniels Newman & Armstrong                                         Contingent
          2729 Eva Court                                                         Unliquidated
          Bethlehem, GA 30620-7639                                               Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $22,283.05
          Wesco Aircraft                                                         Contingent
          24911 Avenue Stanford                                                  Unliquidated
          Valencia, CA 91355                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $8,433.00
          Windstream fka Deltacom
          c/o McCarthy Burgess & Wolff                                           Contingent
          26000 Cannon Road                                                      Unliquidated
          Cleveland, OH 44146                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:

          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,820.27
          Wiremasters                                                            Contingent
          1788 North Point Road                                                  Unliquidated
          Columbia, TN 38401                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes




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 3.147     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Yostvises                                                             Contingent
           388 West 24th Street                                                  Unliquidated
           Holland, MI 49423                                                     Disputed
           Date(s) debt was incurred                                         Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?        No      Yes

 3.148     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $3,022.51
           Zoro Tools                                                            Contingent
           909 Asbury Drive                                                      Unliquidated
           Buffalo Grove, IL 60089                                               Disputed
           Date(s) debt was incurred                                         Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?        No      Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any
 4.1       Deanna Cords
           800 Walnut Street                                                                          Line     3.141
           MAC F0005-055
                                                                                                             Not listed. Explain
           Des Moines, IA 50309


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                         Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.         $                            0.00
 5b. Total claims from Part 2                                                                            5b.    +    $                      863,882.14

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.         $                         863,882.14




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                                                               United States Bankruptcy Court
                                                                     Northern District of Alabama
 In re      JIT Industries, Inc.                                                                    Case No.   18-80892
                                                                                   Debtor(s)        Chapter    11




                                VERIFICATION OF CREDITOR MATRIX - AMENDED


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       May 8, 2018                                                /s/ Ginger McComb
                                                                        Ginger McComb/President
                                                                        Signer/Title




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Danny Overbee                             Aero Products                         Allied Wire & Cable
c/o James Adams                           551 N. 40th Street                    101 Kestrel Drive
402 Moulton Street E                      Show Low, AZ 85901                    Collegeville, PA 19426
Decatur, AL 35601



People's Bank of Alabama                  Aero-Glen International, LLC          Amazon
801 2nd Avenue SW                         1160 Mustang Drive                    410 Terry Avenue N.
Cullman, AL 35055                         Suite 300                             Seattle, WA 98109
                                          DFW International Airport, TX 75261



People's Bank of Alabama                  Aircraft Hardware West                American Express
d/b/a Probilling & Funding Service        2180 Temple Avenue                    c/o Charles Nick Parnell III
P.O. Box 2222                             Long Beach, CA 90804                  641 South Lawrence Street
Decatur, AL 35609                                                               Montgomery, AL 36102



Phillip Hill                              Aircraft Spruce                       American Ring & Tool Company
3155 Hurricane Road                       225 Airport Circle                    30450 Bruce Industrial Parkway
New Market, AL 35761                      Corona, CA 92880                      Solon, OH 44139




Rod Hill                                  Airgas South, Inc.                    Andrews Tool Company, Inc.
3155 Hurricane Road                       621 Finley Island Road                2026 W. Pioneer Parkway
New Market, AL 35761                      Decatur, AL 35601                     #B10
                                                                                Pantego, TX 76013



A-Z Office Resource, Inc.                 Alabama Department of Revenue         Apex Industrial Supply, LLC
113 Jetplex Circle                        Income Tax Division                   1401 Air Wing Road
Madison, AL 35758                         P O Box 327460                        San Diego, CA 92154
                                          Montgomery, AL 36132



AAR Manufacturing, Inc.                   Align Aerospace                       Arlington International Aviation Pro
dba AAR Mobility Systems                  21123 Nordhoff Street                 7321 Commercial Boulevard E.
1100 N. Wood Dale Road                    Chatsworth, CA 91311                  Arlington, TX 76001
Wood Dale, IL 60191



ACT Fastening Solutions                   All Data Resource                     Astral Air Parts
245 Suffolk Lane                          2892 Prairie Drive                    192 Van Riper Avenue
Gardner, MA 01440                         Lewis Center, OH 43035                Elmwood Park, NJ 07407




Adept Fasteners                           Allied Electronics                    Athens Utilities
28709 Industry Drive                      7151 Jack Newell Boulevard S.         1806 Wilkinson Street
Valencia, CA 91355                        Fort Worth, TX 76118                  Athens, AL 35611



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Atlanta Air Exchange                    Blue Sky Industries                      Cook's Pest Control
1146 Uniform Road                       595 Monterey Pass Road                   2007 Southpark Boulevard SW
Griffin, GA 30224                       Monterey Park, CA 91754-2406             Huntsville, AL 35803




Automation Direct                       Brownells, Inc.                          Danny Overbee
P.O. Box 402417                         200 South Front Street                   c/o James Adams
Atlanta, GA 30384-2417                  Montezuma, IA 50171                      402 Moulton Street E
                                                                                 Decatur, AL 35601



Aviall                                  BW Elliott Manufacturing                 Danny Overbee
P.O. Box 619048                         11 Beckwith Avenue                       c/o James Adams
Dallas, TX 75261-9048                   Binghamton, NY 13901                     402 Moulton Street E
                                                                                 Decatur, AL 35601



B&B Specialties                         C.H. Robinson Wolrdwide and SubsidiariesDanny Overbee
4321 E. La Palma Avenue                 14701 Charlson Road                     c/o James Adams
Anaheim, CA 92807                       Eden Prairie, MN 55347-5076             402 Moulton Street E
                                                                                Decatur, AL 35601



Bailey Hydraulics                       Capital One Visa                         Danny Overbee
2527 Westcott Boulevard                 c/o Portfolio Recovery Associates, LLC   c/o James Adams
Knoxville, TN 37931                     PO Box 12914                             402 Moulton Street E
                                        Norfolk, VA 23541                        Decatur, AL 35601



Baldor                                  Cavanaugh Government Group               Danny Overbee
5711 R.S. Boreham Jr Street             8432 Beloit Avenue                       c/o James Adams
P.O. Box 2400                           Bridgeview, IL 60455                     402 Moulton Street E
Fort Smith, AR 72901                                                             Decatur, AL 35601



Bell Memphis                            CBT Corporation                          Danny Overbee
1650 Channel Avenue                     1200 S. Powell Road                      c/o James Adams
Memphis, TN 38103                       #A                                       402 Moulton Street E
                                        Independence, MO 64057                   Decatur, AL 35601



Benchmark Connector Corp.               CDW                                      DB Roberts
4501 N.W. 103 Avenue                    75 Tri-State International               1060 N. Batavia Street
Sunrise, FL 33351-7981                  Lincolnshire, IL 60069                   Unit E
                                                                                 Orange, CA 92867



Blue Cross and Blue Shield of Alabama Chemsol                                    Denco Aerospace, Inc.
P.O Box 360387                        5320 E. 25th Street                        2605 Central Avenue
Birmingham, AL 35236-0387             Indianapolis, IN 46218                     Grand Prairie, TX 75050



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Denray Machine, Inc.                    Fastenal                              Grainger Industrial
10775 Lawrence                          2001 Theurer Boulevard                1912 Jordan Lane NW
#1140                                   Winona, MN 55987                      Huntsville, AL 35816
Mount Vernon, MO 65712



Dialogic Fasteners                      Fastener Technology Corp.             Groves Industrial
3161 State Road                         7415 Fulton Avenue                    7301 Pinemont Drive
Bensalem, PA 19020                      North Hollywood, CA 91605             Houston, TX 77040




Digikey Corporation                     FedEx                                 Grumen Manufacturing, Inc.
701 Brooks Avenue                       FedEx Corp. Revenue Services          4081 Ryan Road
P.O. Box 677                            3965 Airways, Module G                Suite 101
Thief River Falls, MN 56701-0677        Memphis, TN 38116                     Gurnee, IL 60031



Dixie Air Parts Supply, Inc.            FedEx Freight                         Harrison Gammons & Rawlinson
2048 West Malone Avenue                 FedEx Customer Relations              2430 L and N Drive SW
San Antonio, TX 78225                   3875 Airways, Module H3, Dept. 4634   Huntsville, AL 35801
                                        Memphis, TN 38116



DMS Aircraft                            Fisher Scientific                     HC Pacific
3838 Commerce Parkway                   300 Industry Drive                    5536 Ontario Mills Parkway
Miramar, FL 33025                       Pittsburgh, PA 15275                  Ontario, CA 91764




DPSI                                    FJ Young                              Hentzen Coatings, Inc.
1801 Stanley Road                       Unknown                               6937 West Mill Road
Suite 301                                                                     Milwaukee, WI 53218-1225
Greensboro, NC 27407



ECAS, Inc.                              Flight Shop, Inc.                     Herber Aircraft
2990 Technology Drive                   P.O. Box 602                          1401 East Franklin Avenue
Rochester, MI 48309                     Brigham City, UT 84302                El Segundo, CA 90245-4307




Electro Enterprises                     Ginger McComb                         Hercules Sealing Products
P.O. Box 11456                          106 Lansdowne Drive                   1016 N. Belcher Road
Oklahoma City, OK 73136                 Madison, AL 35758                     Clearwater, FL 33765




Enfasco                                 Graco Supply                          Heritage Propane
1675 Hylton Road                        1001 Miller Avenue                    7206 Governors West Road NW
Pennsauken, NJ 08110                    Fort Worth, TX 76105                  Huntsville, AL 35806



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Hobson Manufacturing               Jeff Bourland                    Kapco Global
6758 Eton Avenue                   107 Bibb Drive                   3120 Enterprise Street
Canoga Park, CA 91303              Madison, AL 35758                Brea, CA 92821




Howco Distributing                 Jewell Instruments, LLC          KLX Aerospace Solutions
6025 E. 18th Street                850 Perimeter Road               117 East Rose Avenue
Vancouver, WA 98661                Manchester, NH 03103             Foley, AL 36535




ICC                                JIT Military Sales               Koncentra USA Corp.
900 Montclair Road                 26670 Success Drive SW           13551 SW 135 Avenue
Birmingham, AL 35213               Madison, AL 35756                Warehouse 302
                                                                    Miami, FL 33186



Industrial Forge                   JIT Military Sales               L-Com Global Company
1725 US-1                          26670 Success Drive SW           50 High Street
Alma, GA 31510                     Madison, AL 35756                West Mill, 3rd Floor, Ste. 30
                                                                    North Andover, MA 01845



Inland Technology, Inc.            JIT Military Sales               Lee Aerospace Products
401 E. 27th Street                 26670 Success Road SW            9323 E. 34th Street N.
Tacoma, WA 98421                   Madison, AL 35756                Wichita, KS 67226




Integration, LLC                   JIT Military Sales               Marco Manufacturing
2009 Westmeade Street SW           26670 Success Drive SW           55 Page Park Drive
Decatur, AL 35601                  Madison, AL 35756                P.O. Box 3733
                                                                    Poughkeepsie, NY 12603



Internal Revenue Service           Johnstone Supply                 Matthew McComb
PO Box 7346                        11632 NE Ainsworth Circle        106 Lansdowne Drive
Philadelphia, PA 19101-7346        Portland, OR 97220               Madison, AL 35758




Jacob Bridges                      Kaman Industrial                 Matthews Industries, Inc.
Unknown                            1 Vision Way                     23 2nd Street
                                   Bloomfield, CT 06002             Decatur, AL 35601




Jacobsen                           Kampi Components Co., Inc.       McMaster Carr
1710 Marvin Griffin Road           88 Canal Road                    P.O. Box 740100
Augusta, GA 30906                  Fairless Hills, PA 19030         Atlanta, GA 30374-0100



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MEG Technologies                         Nova Electric Division           Phillip Hill
15381 Assembly Lane                      100 School Street                3155 Hurricane Road
Huntington Beach, CA 92649               Bergenfield, NJ 07621            New Market, AL 35761




Metropolitan Aircraft Parts, Inc.        Office Enviornments              Phillip Hill
172 Cabot Street                         200 West Side Square             3155 Hurricane Road
West Babylon, NY 11704                   #53                              New Market, AL 35761
                                         Huntsville, AL 35801



MM Reif Ltd.                             Oil States Industries            Phillip Hill
850 Albany Street                        7701 S. Cooper Street            3155 Hurricane Road
P.O. Box 191490                          Arlington, TX 76001              New Market, AL 35761
Roxbury, MA 02119



Mouser                                   Ortman Fluid Power               Pioneer Industries
1000 North Main Street                   1400 N. 30th Street              111 Kero Road
Mansfield, TX 76063                      Suite 20                         Carlstadt, NJ 07072
                                         Quincy, IL 62301



MSC Industrial                           Peerless Aerospace               Poly Paint Co.
114 Celtic Drive                         141 Executive Boulevard          337 Summit Drive
Madison, AL 35758                        Farmingdale, NY 11735            Corte Madera, CA 94925




Myriad Supply                            People's Bank of Alabama         PRC Desoto
22 W. 19th Street                        801 2nd Avenue SW                PPG Aerospace
New York, NY 10011                       Cullman, AL 35055                12780 San Fernando Road
                                                                          Sylmar, CA 91342



N! Critical Technologies, Inc.           Philip Hill                      Premium Assignment Corporation
211 N. Parker Driver                     3155 Hurricane Road              3522 Thomasville Road
Janesville, WI 53545                     New Market, AL 35761             #400
                                                                          Tallahassee, FL 32309



Newark Electronics                       Philip Hill                      Professional Security Systems
33190 Collection Center Drive            3155 Hurricane Road              2106 West Ferry Way
Chicago, IL 60693-0331                   New Market, AL 35761             Suite C
                                                                          Huntsville, AL 35801



Northern Tool & Equipment                Philip Hill                      Pyramid Industrial
7252 Governors W.                        3155 Hurricane Road              3158 Highway 20 W.
Huntsville, AL 35806                     New Market, AL 35761             Building #7
                                                                          Decatur, AL 35601


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Quality Socket Screw Corporation        Rod Hill                         Spectrum Manufacturing & Sales, In
7290 Worth Avenue                       3155 Hurricane Road              1951 Hampshire Road
Englewood, FL 34224                     New Market, AL 35761             Columbus, OH 43221




Rapid Rivet                             Rod Hill                         Star Stainless
121 Toledo Street                       3155 Hurricane Road              2825 Northwoods Parkway
Farmingdale, NY 11735                   New Market, AL 35761             Norcross, GA 30071




REFA International, Inc.                RS Hughes                        Starwares
400 W. Fork Drive                       1162 Sonora Court                2606 Aviation Parkway
Arlington, TX 76012                     Sunnyvale, CA 94086              Grand Prairie, TX 75052-8911




Robertson Fuel Systems                  Sandstrom Products               Superior Washer & Gasket Corp.
800 W. Carver Road                      P.O. Box 547                     170 Adams Avenue
Suite 101                               224 South Main Street            Hauppauge, NY 11788
Tempe, AZ 85284                         Port Byron, IL 61275



Rockywoods                              Sandy Valley Fasteners           TAB Hardware
106 W. 4th Street                       528 Broadway Street              2880 E. Hill Street
Loveland, CO 80537                      Paintsville, KY 41240            Long Beach, CA 90804




Rod Hill                                Sierra Pacific                   Textron Systems (Marine & Land S
3155 Hurricane Road                     63 Laxalt Drive                  1010 Gause Boulevard
New Market, AL 35761                    Carson City, NV 89706            Slidell, LA 70458




Rod Hill                                Softbox Systems                  The Builders Supply
3155 Hurricane Road                     350 Frontage Road                1400 Marshall Street
New Market, AL 35761                    Greenville, SC 29611             Shreveport, LA 71101




Rod Hill                                Southeastern Freight Lines       TMS Equipment
3155 Hurricane Road                     6630 Swancott Road               101 Arielle Way
New Market, AL 35761                    Madison, AL 35756                Whitefish, MT 59937




Rod Hill                                Spacaero                         Tormach
3155 Hurricane Road                     5740 Nicolle Street              1071 Uniek Drive
New Market, AL 35761                    Ventura, CA 93003                Waunakee, WI 53597



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Turner Supply Company                   Wencor West, Inc.                G. Bartley Loftin III, Esq.
401 33rd Street N.                      416 Dividend Drive               Bradley Arant Boult Cummings LLP
Birmingham, AL 35222                    Peachtree City, GA 30269         200 Clinton Avenue W., Ste. 900
                                                                         Huntsville, AL 35801



U.S. Air Tool Company                   Wencor, LLC                      G. Bartley Loftin III, Esq.
60 Fleetwood Court                      c/o Daniels Newman & Armstrong   Bradley Arant Boult Cummings LLP
Ronkonkoma, NY 11779                    2729 Eva Court                   200 Clinton Avenue W., Ste. 900
                                        Bethlehem, GA 30620-7639         Huntsville, AL 35801



Uline                                   Wesco Aircraft                   G. Bartley Loftin III, Esq.
12575 Uline Drive                       24911 Avenue                     Bradley Arant Boult Cummings LLP
Pleasant Prairie, WI 53158              Valencia, CA 91355               200 Clinton Avenue W., Ste. 900
                                                                         Huntsville, AL 35801



Umpco, Inc.                             Windstream fka Deltacom          Kevin D. Heard, Esq.
7100 Lampson Avenue                     c/o McCarthy Burgess & Wolff     Heard Ary & Dauro LLC
P.O. Box 5158                           26000 Cannon Road                303 Williams Avenue, Ste. 921
Garden Grove, CA 92841                  Cleveland, OH 44146              Huntsville, AL 35801



Unical Defense, Inc.                    Wiremasters                      Kevin D. Heard, Esq.
680 South Lemon Avenue                  1788 North Point Road            Heard Ary & Dauro LLC
Suite A                                 Columbia, TN 38401               303 Williams Avenue, Ste. 921
City of Industry, CA 91789                                               Huntsville, AL 35801



United Static Control Products, Inc.    Xerox Corporation                Kevin D. Heard, Esq.
4301 32nd Street W.                     P.O. Box 802555                  Heard Ary & Dauro LLC
Bradenton, FL 34205                     Chicago, IL 60680                303 Williams Avenue, Ste. 921
                                                                         Huntsville, AL 35801



UPS                                     Yostvises
55 Glenlake Parkway NE                  388 West 24th Street
Atlanta, GA 30328                       Holland, MI 49423




Versitron                               Zoro Tools
83 Albe Drive                           909 Asbury Drive
#C                                      Buffalo Grove, IL 60089
Newark, DE 19702



Wells Fargo Financial Leasing           Deanna Cords
800 Walnut Street                       800 Walnut Street
MAC F0005-055                           MAC F0005-055
Des Moines, IA 50309                    Des Moines, IA 50309


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